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DANIEL E WILLIAMS (ISB 3920)

JONES WILLIAMS FUHRMAN GOURLEY, P.A.
225 N. 9" Street, Suite 820

P.O. Box 1097

Boise, ID 83701-1097

Telephone: (208) 331-1170

Fax: (208) 331-1529

dwilliams@idalaw.com

 

Attorneys for Plaintiff
IN THE UNITED STATES DISTRICT COURT

FOR THE STATE OF IDAHO

BRANDI L. KISSACK, an individual,
Case No.
Plaintiff,

vs. COMPLAINT AND

DEMAND FOR JURY TRIAL
ARAMARK CAMPUS, LLC, a Delaware limited

liability company, ARAMARK FHC CAMPUS
SERVICES, LLC, a Delaware limited liability
company, ARAMARK FOOD & SUPPLY SERVICES
GROUP, INC., a Delaware corporation, all wholly-
owned subsidiaries of ARAMARK CORPORATION,
a Delaware corporation,

Defendants.

 

 

Plaintiff Brandi L. Kissack, for her complaint against Defendants, claims and alleges:

PRELIMINARY STATEMENT

l. Brandi L. Kissack (Ms. Kissack or Plaintiff) was a baker for Aramark Campus,

LLC, under contract with Boise State University at 1910 W. University Drive, Boise, Idaho.

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Throughout Plaintiff's employment, she was subjected to a sexually hostile working
environment. Offensive sexual remarks were frequently made to female employees by
coworkers and even those in management.

2. Ms. Kissack brings suit under Title VII of the Civil Rights Act of 1964, as
amended and codified at 42 U.S.C. § 2000e, ef seq. (“Title VIT’), the Idaho Human Rights Act,
Idaho Code § 67-5901, ef seq. (“IHRA”), and state law.

JURISDICTION AND VENUE

4. Jurisdiction of this Court is invoked under 28 U.S.C. §§ 1331 and 1343. This
action is authorized and instituted under 29 U.S.C. § 216(b) of the FLSA. The Court has
supplemental jurisdiction of Ms. Kissack’s state law claims under 28 U.S.C. § 1367.

5. The acts allegedly occurred in Ada County, Idaho and established the claims
allegedly. The employment practices alleged to be unlawful were committed within this
jurisdiction, and venue is proper in the Southern Division of the District of Idaho under 28
U.S.C. § 1391(a)(3) and under Dist.Idaho Loc.Civ.R. 3.1.

PARTIES

6. Ms. Kissack is a citizen of the State of Idaho and a resident of Ada County, Idaho.
She was an employee of Defendants at all relevant times. Ms. Kissack was issued a Notice of
Right to Sue dated February 20, 2019, and has filed this action within 90 days of her receipt of
such.

7. Defendant Aramark Campus, LLC (“Aramark” or “Defendant”) is a Delaware
limited liability company; Aramark FHC Campus Services, LLC, is a Delaware limited liability
company; Aramark Food & Supply Services Group, Inc., is a Delaware corporation; all are

wholly owned subsidiaries of Defendant Aramark Corporation, a Delaware Corporation

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(collectively “Aramark”). At all relevant times, Aramark provided contracted food services for
students, faculty, staff and guests at Boise State University (“BSU”). Aramark employed
approximately 410 employees at BSU. Defendant is an employer within the meaning of the Title
VII and the THRA.

FACTUAL BACKGROUND

8. Brandi L. Kissack was hired as a full-time baker with benefits in the Catering
Department at Boise Statement University on or about August 19, 2015. In December 2015, she
became a full- time employee and on or about that same time, she was promoted to the role of
Bakery Supervisor. Her responsibilities as Bakery Supervisor included, but were not limited to,
managing the general operations of the Bakery, ordering supplies, conducting inventory and
scheduling associates.

9. Throughout Ms. Kissack’s employment, she was subjected to a sexually hostile
working environment. Inappropriate sexual remarks are frequently made to female employees
by coworkers and even those in management. She was the subject of multiple sexually offensive
comments, which include but are not limited to:

a. On one occasion, the front manager, Scott Vickers, told Ms. Kissack that
another female employee “wasn’t his type,” because he preferred “real
women” like Ms. Kissack and that he was an “ass man,” not a “tit man;”

b. Scott Vickers told Ms. Kissack that he wanted his wife’s friend to sit on his
face;

c. Scott Vickers telling Ms. Kissack on multiple occasions that he wanted to
“take me down to the basement;”

d. Scott Vickers asking Ms. Kissack to send him nude photos of herself;

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e. Scott Vickers describing to Ms. Kissack his sex life with his wife;

f. Cook Noel Argot regularly made comments to Ms. Kissack such as “I'd like
to have a piece of that” in reference to a female co-workers or BSU student
customer;

10. In February 2016, Ms. Kissack complained to Aramark’s Director of Operations,
Carol Scott, that the executive chef had repeatedly called her husband a “pussy” to other
workers. Ms. Scott told her to “put on your big girl panties.”

11. In early 2017, Ms. Kissack filed an anonymous complaint with Aramark. To her
knowledge, there was no follow up or investigation of her claims; however, she believes
management was notified of her complaint and knew it was made by her. Management
employees began harassing Ms. Kissack based on her complaint.

12. In August 2017, a male employee yelled at two female employees and called them
offensive and derogatory names. This employee gave a two-week notice after the incident, and
instead of being reprimanded for egregious outburst, Aramark management pleaded with him to
stay.

13. On August 2, 2017, Ms. Kissack emailed Ashley Browne, Aramark’s District
Manager for BSU, and requested to speak with her. Ms. Browne responded to Ms. Kissack,
providing Ms. Kissack with her telephone number and asked Ms. Kissack to give her a cali. Ms.
Kissack wrote Ms. Browne on August 3, 2017 stating that she preferred to correspond via email
due to hearing loss. Ms. Kissack further stated that she wanted to confirm that Ms. Browne was
the correct person to speak to and then mentioned the high turnover rate at BSU, low morale
among females and her concerns for other employees. Ms. Browne confirmed she was the

correct person to speak to and further advised Ms. Kissack that she could reach out to HRSS,

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Aramark’s centralized Human Resources team, if Ms. Kissack would like to speak to someone
who was not associated with the account.

14. Ms. Kissack subsequently sent Ms. Browne a list of her concerns, which were, in
pertinent part, that women are not treated as equals and were often disrespected. Ms. Browne
did not respond.

15. Believing reasonably that nothing would come of her complaints, Ms. Kissack
gave her two weeks’ notice to Aramark Chef Manager, Jeremy Miller, on or around August 2,
2017.

16. During Ms. Kissack’s employment, she was denied raises and a promotion. She
was told the reasons were that there was not enough money in the budget. Both male and female
employees were given raises, but Ms. Kissack was refused a raise in retaliation for complaints
about the work environment. However, at the same time that she was denied a raise, a male was
hired as her supervisor and was paid $3.00 an hour more than her instead of promoting her to
that position. This male employee quit soon after and Ms. Kissack was still not offered the
position. She was denied regular yearly raises that were given to male employees for bogus
reasons made by managers Jeremiah Miller, Chef Nathan, and Gary Logosz.

17. | Other female employees were treated similarly and quit or transferred.

FIRST CLAIM FOR RELIEF

(Hostile Work Environment and Constructive Discharge in Violation
of Title VII and the THRA)

18. Plaintiff incorporates paragraphs | through 17 above.
19. Defendants were aware of multiple allegations that male employees repeatedly
sexually harassed Ms. Kissack. Despite their awareness, Defendants failed to take adequate

remedial measures to prevent ongoing sexual harassment within the workplace.

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20. The behaviors toward Ms. Kissack were sufficiently pervasive and/or severe as to
create a sexually hostile work environment. Defendant and its management supervisors and
other co-workers also contributed to the hostile work environment by condoning harassment
and/or by harassing Ms. Kissack directly.

21. Defendants failed to take appropriate remedial measures upon Ms. Kissack’s early
complaints of sexual harassment.

22. Defendants’ actions created and condoned a hostile environment in which Ms.
Kissack could not perform her job.

23. Defendants’ actions and omissions ultimately led to Ms. Kissack’s constructive
discharge.

24. Defendants’ actions were done with reckless disregard of her civil rights, thus
entitling her to punitive damages.

25. Asadirect and proximate result of Defendants’ conduct, Ms. Kissack has suffered
economic damages, as well as emotion distress, anguish, humiliation, fear, and anxiety.

SECOND CLAIM FOR RELIEF
(Sex Discrimination in Violation of Title VIT and the IHRA)

26. Plaintiff incorporates paragraphs 1 through 25 above.

27. Defendants discriminated against Ms. Kissack in substantial or motivating part
because of her sex including but not limited to (a) subjecting her to differing terms and
conditions than similarly situated male employees; (b) denying her raises and promotions offered
to similarly situated male employees; (c) subjecting her to sexual harassment; (d) retaliating

against her for reporting sexual harassment; and (e) constructively discharging Ms. Kissack.

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28. Defendants’ actions and omissions were done with malice or reckless indifference
to the federally protected rights of Plaintiff and/or were in reckless disregard of Defendants’
societal obligations and committed with conscious indifference to the health and safety of
Plaintiff.

29. Asa direct and proximate result of Defendants’ conduct, Ms. Kissack has suffered
economic damages, as well as emotion distress, anguish, humiliation, fear, and anxiety.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for relief as follows:

1, That judgment be entered in favor of Plaintiff as set forth herein, and against
Defendants for reasonable monetary damages, including back pay (plus interest or an appropriate
inflation factor and an enhancement to offset any adverse tax consequences associated with lump
sum receipt of back pay), front pay, benefits, and all other damages owed to Plaintiff, in an
amount to be proven at trial;

2. That Plaintiff be awarded costs including, but not limited to, attorney fees, expert
fees and other costs and expenses of this litigation pursuant to, infer alia, 42 U.S.C. § 1988(c)
and 42 U.S.C. §2000e-5(k).

3. That Plaintiff be awarded compensatory damages for injury to her reputation, for
adverse effects on her career, and for diminished earning capacity resulting from the

discriminatory and retaliatory actions of Defendants;

4, For mental and emotional distress damages;

5. For punitive damages;

6. For pre-judgment and post-judgment interest as provided by law;
7. For injunctive and/or declaratory relief;

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7. That Plaintiff be awarded such other and further legal and equitable relief as may
be found appropriate and as the Court may deem just or equitable;
DEMAND FOR JURY TRIAL
Plaintiff respectfully demands a trial by jury on all issues pursuant to Rule 38, F.R.C.P.

DATED this 20" day of May, 2019.

JONES WILLIAMS FYHRMAN GOURLEY, P.A.

 

 

 

Daniel E. Williams
Attorneys for Plaintiff

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